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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION



NATIONAL INFUSION CENTER ASSOCATION,
on behalf of itself and its members; GLOBAL
COLON CANCER ASSOCATION, on behalf of
itself and its members; and PHARMACEUTICAL
RESEARCH AND MANUFACTURERS OF
AMERICA, on behalf of itself and its members,
                   Plaintiffs,

vs.
                                                 Civil Action No. 1:23-cv-00707
XAVIER BECERRA, in his official capacity as
Secretary of the U.S. Department of Health and
Human Services; the U.S. DEPARTMENT OF
HEALTH AND HUMAN SERVICES; CHIQUITA
BROOKS-LASURE, in her official capacity as
Administrator of the Centers for Medicare and
Medicaid Services; and the CENTERS FOR
MEDICARE AND MEDICAID SERVICES,

                   Defendants.



               PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

       For decades, Medicare has relied on a market-based system for reimbursing drug

purchases, helping to make America the world leader in pharmaceutical research and development.

This system has benefitted patients (who receive cutting-edge medicines that extend and enhance

their lives), manufacturers (who earn competitive returns for successful products), and providers

(who receive reimbursement for administering innovative drugs).

       In the Inflation Reduction Act of 2022 (IRA), Congress attempted to replace that time-

tested system with government-dictated prices. If enacted forthrightly, this new scheme would

have come at a high political cost because price controls harm innovation and patient care. To

avoid the likely backlash, Congress adopted a complex and entirely novel structure that, at every

turn, seeks to avoid accountability and oversight, obscuring the fact that drug prices are being

dictated by government fiat.

       Here is how the so-called “Drug Price Negotiation Program” (Drug Pricing Program or

Program) works. Contrary to its name, the Program involves no genuine “negotiation” at all.

Instead, it compels manufacturers to accept prices that the Centers for Medicare & Medicaid

Services (CMS), a sub-agency of the Department of Health and Human Services (HHS),

unilaterally chooses. The law establishes a price ceiling that may not be exceeded, while affording

the agency complete discretion to choose as low a price as it wants: The agency could decide that

an innovative, lifesaving medicine that cost $10 billion to develop is worth just $1 per dose.

       In any genuine negotiation, the seller would be free to decline to sell at such an unfair price.

But Congress blocked that option. If manufacturers do not agree to participate in the sham

“negotiation,” or do not accede to whatever price the agency ultimately demands, they are subject

to a crippling “excise tax.” This supposed “tax” is staggering, starting at a multiple of daily

revenues and rapidly escalating to 19 times the manufacturer’s total U.S. revenues for the drug in
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question (not merely its Medicare revenues). The manufacturer’s only alternative is to exit

Medicare and Medicaid altogether, not just for the drug in question, but for all the manufacturer’s

drugs—depriving patients nationwide of access to critical medicines and foreclosing nearly half

the U.S. drug market. That faux “negotiation,” backed by the very real threat of a crippling “tax,”

serves no legitimate purpose other than obscuring Congress’s price-fixing scheme.

       Next, Congress insulated this scheme from meaningful accountability. On the front end,

the agency claims that it need not engage in notice-and-comment rulemaking regarding the

Program’s administration. The agency accordingly has already made key implementation

decisions—including decisions that stretch the Program beyond the statutory text—without

accounting for the views of affected parties. And on the back end, the IRA’s text purports to

foreclose altogether administrative and judicial review of critical agency decisions. As a result, the

agency can decree any price it wants for a manufacturer’s drug and then force the manufacturer to

“agree” that it is “fair,” without any meaningful ability to reach a different deal, walk away from

negotiations, or challenge how the agency reached its decision. Patients and providers are shut out

as well, even though government-set prices determine providers’ reimbursement rates and

patients’ access to innovative treatments. Concealing its true operation through euphemisms, and

totally lacking in accountability, the IRA is a law like none other.

       These unprecedented aspects of the Drug Pricing Program render it unconstitutional in at

least three ways. First, Congress delegated unconstrained authority to the agency, in violation of

the separation of powers and the nondelegation doctrine. Price-setting statutes have a historical

pedigree, but the IRA is unprecedented because it vests the agency with complete discretion to set

prices as low as it wants (regardless of whether the prices are reasonable). Further, it leaves key

interpretive and policy decisions to the agency’s unfettered choice—essentially allowing the




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agency to rewrite the statute as it sees fit, without meaningful judicial oversight.

       Second, the excise-tax penalty violates the Eighth Amendment’s Excessive Fines Clause.

Failing to agree on a negotiated price ordinarily is not considered unlawful or even wrongful

conduct. But if a manufacturer fails to agree to the government-imposed price for one of its

products, the manufacturer is penalized with a daily excise tax—on all of its nationwide sales of

the product, not just Medicare sales—that starts unbearably high and quickly escalates into the

stratosphere. Indeed, the penalty is so onerous that the Joint Committee on Taxation and the

Congressional Budget Office (CBO) both estimated that it will raise “no revenue” because no

manufacturer could ever afford to pay it.

       Third, exempting key agency implementation decisions from public input and insulating

them from judicial review violates the Fifth Amendment’s Due Process Clause. The law directly

implicates patients, whose access to essential drugs may be thrown into jeopardy; manufacturers,

who have invested billions developing drugs that may suddenly be rendered unprofitable; and

providers, who face slashed reimbursement rates that could drive them out of business. Yet the

agency insists that the IRA gives interested stakeholders no meaningful notice-and-comment rights

(on the front end) or ability to challenge legally erroneous decisions in court (on the back end).

       If allowed to stand, this law will dramatically slow innovation, reduce the availability of

new medicines, and undermine public health, causing grave harm to patients, pharmaceutical

manufacturers, and healthcare providers. The National Infusion Center Association (NICA), the

Global Colon Cancer Association (GCCA), and Pharmaceutical Research and Manufacturers of

America (PhRMA) respectfully ask this Court to grant summary judgment, to declare the Drug

Pricing Program unconstitutional, and to enjoin its implementation.




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                                        BACKGROUND

        A.      Pharmaceutical Innovation Requires Investment in Research and
                Development

        The process of developing new drugs is lengthy, risky, and expensive. See Ex. 1, Expert

Decl. of Craig Garthwaite ¶¶ 16–29; Ex. 2, Decl. of Adam Gluck ¶ 10. Today, companies are

developing hundreds of new medicines to treat cancers, pediatric conditions, and rare diseases. See

PhRMA, Medicines in Development 2021 Report: Rare Diseases 1 (Dec. 2021),

https://bit.ly/3go50j8; PhRMA, Medicines in Development 2022 Report: Women 2 (Mar. 2022),

https://bit.ly/3EzupyG; Am.’s Biopharmaceutical Cos., Medicines in Development 2020 Report:

Children 1 (Jan. 2020), https://onphr.ma/2PSX4FN. Researchers also are working on hundreds of

novel cell and gene therapies. See Am.’s Biopharmaceutical Cos., Medicines in Development 2020

Update: Cell and Gene Therapy 1–2 (Feb. 2020), https://onphr.ma/3fY6wSX. And—of particular

importance to the older population Medicare covers—companies are developing cutting-edge

treatments for Alzheimer’s Disease. See PhRMA, Continued Progress Toward New Treatments

for Alzheimer’s Disease Provides Hope to Millions 1 (Mar. 2022), https://onphr.ma/42zq8pt.

Recent studies indicate that, to develop just one new drug, manufacturers spend an average of over

$2 billion. See Garthwaite Decl. ¶ 25. Some drugs for complex conditions require over $10 billion

in research and development investment. See Alexander Schuhmacher et al., Changing R&D

Models in Research-Based Pharmaceutical Companies, 14 J. Translational Med., no. 105, at 3–4,

(Apr. 27, 2016), https://bit.ly/2PWRKRC. And the necessary investments are increasing. Over the

last 60 years, drug research and development costs have risen 8.6% annually, even after adjusting

for inflation. See id. at 3.

        Manufacturers also face long odds. Only one in 5,000 compounds that enters preclinical

testing will achieve FDA approval, a failure rate of 99.98%. See Sandra Kraljevic et al.,



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Accelerating Drug Discovery, 5 Eur. Molecular Biology Org. Reps. 837, 837 (2004),

https://bit.ly/2Y2gwEK. Of the therapies approved for patient use, only one-third will even cover

their development costs, much less provide returns sufficient to allow for continued investment

and innovation. See John A. Vernon & Joseph H. Golec, Pharmaceutical Price Regulation: Public

Perceptions, Economic Realities, and Empirical Evidence 7 (2008), http://bit.ly/3UR06de.

       Notwithstanding the low success rate, the U.S. biopharmaceutical industry invested an

estimated $122 billion on research and development in 2020 alone, representing almost 60% of

global pharmaceutical research and development spending. See Garthwaite Decl. ¶¶ 10, 16. To

justify this level of investment, the expected returns for medicines that do make it to market must

be high enough to counterbalance the substantial likelihood of failure. And manufacturers must

make investment decisions based on predictions about expected returns a decade or more before

the product will launch and begin earning revenues. See id.; Gluck Decl. ¶ 11.

       Successful pharmaceutical innovation benefits not just manufacturers, but providers and

patients as well. Providers are in the business of extending and improving patients’ lives by

administering treatments that pharmaceutical manufacturers make—including innovative new

drugs and therapies. Administering innovative drugs and biologics and obtaining reimbursement

based on market prices is the foundation of how providers keep their doors open and serve their

patients’ needs. Ex. 3, Decl. of Brian Nyquist ¶¶ 9–10. Patients, in turn, depend on pharmaceutical

innovation to save, extend, and improve their lives. See Ex. 4, Decl. of Andrew Spiegel ¶¶ 9–13,

19; Nyquist Decl. ¶¶ 4, 6.

       B.      Medicare Traditionally Encouraged Pharmaceutical Innovation

       A key driver of pharmaceutical innovation has been the market-based reimbursement

traditionally afforded by Medicare. “Medicare stands as the largest federal program after Social

Security,” providing “health insurance for nearly 60 million aged or disabled Americans, nearly


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one-fifth of the Nation’s population.” Azar v. Allina Health Servs., 139 S. Ct. 1804, 1808 (2019);

see Garthwaite Decl. ¶ 87. As relevant here, Medicare includes two major prescription drug

programs. First, Medicare Part B covers medically necessary and preventative healthcare services,

including drugs administered by a physician. See 42 U.S.C. §§ 1395k(a)(1), 1395x(s)(2)(A);

Garthwaite Decl. ¶ 33. Medicare Part B is administered by CMS and, with certain exceptions, has

long reimbursed providers based on market prices. Medicare Part B reimbursement rates generally

reflect the drug’s “average sales price”—which incorporates the volume-weighted average of all

manufacturer sales prices to U.S. purchasers, with certain exceptions—plus a specified percentage

(currently 6%). See 42 U.S.C. § 1395w-3a; Garthwaite Decl. ¶¶ 36, 38.

       Second, Medicare Part D allows Medicare beneficiaries to enroll in privately operated

plans covering self-administered prescription drugs. See 42 U.S.C. § 1395w-102; Garthwaite Decl.

¶ 35. Drug prices in Part D also are market-based. Part D plans are administered by private plan

sponsors, which negotiate prices with manufacturers. See id. ¶¶ 36–37. Moreover, the Part D

statute provides that, “[i]n order to promote competition under [Part D],” HHS and CMS “may not

interfere with the negotiations between drug manufacturers and pharmacies and [prescription drug

plan] sponsors.” 42 U.S.C. § 1395w–111(i); see Garthwaite Decl. ¶ 49. For decades, then,

Medicare has encouraged a market-driven approach that has fostered incredible innovation.

       Although Medicare’s market-based approach benefits patients globally, it helps Americans

most directly. Manufacturers generally launch new drugs in the United States first; accordingly,

U.S. patients are often the first to receive lifesaving pharmaceuticals. For example, 80% of

medicines approved by the FDA in 2021 were available in the United States before any other

country. See Garthwaite Decl. ¶ 10. Foreign countries with drug-price controls have seen drastic

reductions in research and investment, as well as delays in patients’ access to advanced treatments.




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See Joe Kennedy, The Link Between Drug Prices and Research on the Next Generation of Cures,

Info. Tech. & Innovation Found. (Sept. 9, 2019), https://bit.ly/3fSIysc; PhRMA, Global Access to

New Medicines Report 8, 11–36 (Apr. 2023), https://bit.ly/3OR7GEx.

       C.      The IRA Upends Medicare’s Market-Based Reimbursement Mechanisms

       The IRA upends Medicare’s market-based system. The statute directs HHS to establish a

“Drug Price Negotiation Program.” 42 U.S.C. § 1320f(a) (emphasis added). But in reality, the

Program empowers HHS to control drug prices not by negotiation, but by administrative fiat.

               1.      HHS Ranks and Selects “Negotiation-Eligible Drugs”

       Beginning in 2023, the IRA directs HHS to rank “negotiation-eligible drugs” based on

Medicare’s “total expenditures” for them (first in Part D, later in Part B as well) over a specified

twelve-month period. Id. § 1320f–1(b)(1)(A). Drugs with the highest total expenditures during the

specified period are to be ranked the highest. Id.

       The “negotiation-eligible drugs” that HHS must rank encompass many of the most

innovative drugs and biological products available. The IRA defines “negotiation-eligible drugs”

as the 50 “qualifying single source drugs” with the highest total expenditures under Parts B and D.

Id. § 1320f–1(d)(1). A “qualifying single source drug” is defined as one that (1) is marketed under

a new drug application or a biologics license application, (2) has been approved by FDA for at

least 7 years for drugs or 11 years for biological products, and (3) is not the reference drug for an

approved and marketed generic drug or biosimilar product. Id. § 1320f–1(e)(1).

       Once “negotiation-eligible” drugs have been identified and ranked, the IRA directs HHS

to “select” an increasing number of the highest-ranked drugs for negotiation and “publish a list of

[them].” Id. § 1320f–1(a). Part D drugs will be selected starting in 2023, with “maximum fair

prices” taking effect in 2026; Part B drugs are added to the selection process beginning in 2026,

with maximum prices taking effect in 2028. Id. § 1320f–1(a)(1), (3). Ten Part D drugs will be


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selected for 2026, fifteen Part D drugs for 2027, fifteen Part D and Part B drugs for 2028, and

twenty Part D and Part B drugs for 2029 and each year thereafter. Id. § 1320f–1(a)(1)–(4). This

process is cumulative: A selected drug remains selected until HHS determines that an approved

generic or licensed biosimilar has been marketed. Id. § 1320f–1(c)(1).

       HHS must publish the first list of selected drugs by September 1, 2023. Id. § 1320f(d)(1),

1320f–1(a)(1). At least one drug manufactured by a member of PhRMA will be included on the

first list, as well as subsequent lists. See Ex. 5, Decl. of Kristen Bernie ¶¶ 13–15; Garthwaite Decl.

¶ 70; Ex. 6, Decl. of Patrick Costello ¶ 19; Gluck Decl. ¶ 9.

               2.      HHS Sets “Maximum Fair Prices” Through Sham “Negotiations”

       Once drugs are ranked and selected, the IRA directs HHS to “enter into agreements with

manufacturers” whereby the parties “negotiate to determine (and … agree to) a maximum fair

price.” 42 U.S.C. § 1320f–2(a)(1). Manufacturers of drugs included on the first list of selected

drugs must enter into these “agreements” by October 1, 2023. Id. §§ 1320f(d)(2)(A), 1320f–2(a).

The ensuing “negotiations” then must conclude by August 1, 2024. Id. §§ 1320f(d)(5), 1320f–

3(b)(2)(E).

       To conduct the “negotiations,” the statute directs HHS to “develop and use a consistent

methodology and process … that aims to achieve the lowest maximum fair price for each selected

drug.” Id. § 1320f–3(b)(1). The “negotiation” process includes an HHS “offer,” a manufacturer

“counteroffer,” and an HHS “[r]esponse.” Id. § 1320f–3(b)(2)(C)–(D). But that is where any

resemblance to genuine negotiation ends.

       To begin with, HHS can demand any information it wants on pain of massive penalties.

The statute commands manufacturers to give HHS a host of closely guarded trade secrets and other

proprietary information, including the manufacturer’s research and development costs, market

data, and costs of production and distribution. Id. §§ 1320f–2(a)(4)(B), 1320f–3(e)(1).


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Manufacturers also must “compl[y] with” whatever other requirements HHS deems “necessary

for purposes of administering the program.” Id. §§ 1320f–2(a)(5), 1320f–6(c). These onerous

requirements are enforced by $1 million-per-day civil penalties—plus the crippling excise tax

discussed below. Id. §§ 1320f–2(a)(4)–(5), 1320f–6(c); 26 U.S.C. § 5000D(b)(4).

        The IRA then sets no meaningful constraints on what prices HHS can mandate. With one

minor exception, the statute does not limit how low a price HHS can demand. 42 U.S.C. § 1320f–

3(b)(2)(F). But it does place a “ceiling” on how high a price HHS can offer. Id. § 1320f–3(c). For

the Program’s first year, the ceiling is calculated as a percentage of a baseline price (generally, the

inflation-adjusted non-federal average manufacturer price in 2021). The ceiling ranges from 75

percent of that benchmark for recently approved drugs, down to just 40 percent for drugs that have

been approved for over 16 years. Id. § 1320f–3(b)(2)(F), (c)(1)(C)(i). In other words, the IRA

mandates a first-year minimum discount of 25-to-60 percent. For subsequent years, the ceiling can

be even more restrictive—the statute directs HHS to use either the calculation above or an

alternative calculation if it is lower. Id. § 1320f–3(c)(1)(C)(ii).

        Below the applicable “ceiling,” HHS has free rein to set prices as it pleases. At most, HHS

must “consider” specified “factors,” including research and development costs, production and

distribution costs, prior federal financial support, data on patents and regulatory exclusivities,

market data and revenue and sales volume data, and information about alternative treatments. Id.

§ 1320f–3(e). Yet the IRA sets no criteria for how to weigh these considerations, nor does it require

HHS to disclose in any meaningful way how it balanced those factors in setting prices. And the

statute’s low-ceiling, no-floor design gives HHS every incentive to drive prices as low possible.

        Once HHS has imposed a “maximum fair price” and that price becomes effective, the

manufacturer must provide “access to such price to” a wide array of individuals, pharmacies,




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providers, and other entities participating in Medicare. Id. § 1320f–2(a)(1). Manufacturers that fail

to do so must pay a penalty of ten times the difference between the price charged and the price

imposed by HHS, multiplied by the number of units sold. Id. § 1320f–6(b).

               3.      Noncompliant Manufacturers Must Pay a Crippling “Excise Tax”

       The hammer the IRA uses to force manufacturers to “agree” to a “maximum fair price” is

a so-called “excise tax.” In ordinary negotiations, parties that fail to reach agreement regarding

price can simply walk away. See Garthwaite Decl. ¶¶ 42, 81. But under the IRA, manufacturers

cannot do that. Instead, the statute imposes a steep penalty for every day the manufacturer has not,

by the applicable statutory deadline, (1) entered into an “agreement” to negotiate a maximum fair

price for a negotiation-eligible drug, (2) “agreed” to a maximum fair price, or (3) submitted the

information HHS demands for the “negotiation” process. 26 U.S.C. § 5000D(b). Congress labeled

this penalty an “excise tax,” but it is intended to coerce rather than raise revenue.

       The size and scope of this “tax” is staggering. It applies to all U.S. sales of the drug in

question, not just Medicare sales. See id. The tax is calculated based on a formula representing an

“applicable percentage” of the drug’s total cost (price plus tax). Id. § 5000D(d). The applicable

percentage starts at 65% and then increases 10% for each quarter of noncompliance until it reaches

95%. Id. As the Congressional Research Service explained, “[t]he excise tax rate” thus “range[s]

from 185.71% to 1,900% of the selected drug’s price depending on the duration of

noncompliance.” Cong. Rsch. Serv., Tax Provisions in the Inflation Reduction Act of 2022 (H.R.

5376), 4 (Aug. 10, 2022), https://bit.ly/3sbHYBy. In other words, the tax starts at nearly double

the manufacturer’s total daily U.S. revenue for the drug, and quickly escalates to 19 times revenue.

A summary of predecessor legislation described the excise tax as a “steep, escalating penalty.”

Title Summary, H.R. 3, at 1 (2022). Indeed, though the statute calls it a “tax,” both the Joint

Committee on Taxation and CBO estimated that the tax would raise “no revenue” because no


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manufacturer could ever afford to pay it. Joint Comm’n on Tax’n, Estimated Budget Effects of the

Revenue Provisions of Title XIII – Committee on Ways and Means, of H.R. 5376, The “Build Back

Better Act,” at 8 (Nov. 19, 2021), https://bit.ly/3plC4cd; see CBO, Estimated Budgetary Effects of

Public Law 117-169, at 5 (Sept. 7, 2022), https://bit.ly/3JOiq3r (similar). Instead, manufacturers

will have no choice but to “agree” to whatever “maximum fair price” HHS demands.

       The IRA provides that the excise-tax penalty may be “[s]uspen[ded],” but only if the

manufacturer terminates three types of agreements with HHS. 26 U.S.C. § 5000D(c). Terminating

those agreements would eliminate coverage under Medicare Part D, Medicare Part B, and

Medicaid—not just for the manufacturer’s drugs subject to the IRA’s Drug Pricing Program, but

for all of the manufacturer’s drugs. See id.; 42 U.S.C. § 1396r-8(a)(1).

       Withdrawing from Medicare and Medicaid altogether is not feasible for manufacturers. To

begin with, “[t]he consequence of” withdrawing from Medicare and Medicaid “would be

catastrophic for almost any manufacturer.” Garthwaite Decl. ¶ 84; see id. ¶¶ 85–88. “Through

Medicare and Medicaid, [the federal government] pays for almost half the annual nationwide

spending on prescription drugs.” Sanofi Aventis U.S. LLC v. HHS, 58 F.4th 696, 699 (3d Cir. 2023).

Medicare and Medicaid account for a hefty portion of many manufacturers’ revenue. See Bernie

Decl. ¶ 11; Garthwaite Decl. ¶ 87; Costello Decl. ¶ 20; Gluck Decl. ¶ 13. In addition, withdrawing

from Medicare and Medicaid would cause millions of patients to lose access to medicines they

depend on. Pulling the rug out from under patients who have come to rely on medicines for a

course of therapy would raise ethical concerns and would be “anathema” to manufacturers’

“mission.” Gluck Decl. ¶ 13; see Costello Decl. ¶ 20; Garthwaite Decl. ¶ 88.

       Even if a manufacturer were able, let alone willing, to shoulder those financial, ethical, and

reputational costs, the IRA delays manufacturers’ ability to exit from Medicare Part D—and thus




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compels them to participate—for between 11 and 23 months. See 42 U.S.C. §§ 1395w–

114a(b)(1)(C)(ii), 1395w–114c(b)(4)(B)(ii), 1395w–153(a)(1). CMS recently issued nonbinding

guidance stating that, if manufacturers withdraw, the agency will take administrative actions to

reduce that exit delay down to 30 days. See CMS, Medicare Drug Price Negotiation Program:

Revised Guidance for Initially Price Applicability Year 2026 [hereinafter Revised Guidance], at

120–21 (June 30, 2023), https://bit.ly/3JLSSUH. But the agency’s statutory basis for those

promised administrative actions is dubious at best, and manufacturers cannot rely on them—

particularly since the agency could seemingly change its mind at any time. See infra Part I.

               4.      The IRA Limits Notice-and-Comment Rulemaking and Judicial Review

       Despite the Drug Pricing Program’s unprecedented burdens on manufacturers and serious

repercussions for providers and patients, affected parties have no say in how HHS implements key

parts of the Program, and they are deprived of legal recourse regarding numerous critical decisions.

       On the front end, before implementation decisions are made, there is no right to participate

in the implementation process. The Administrative Procedure Act sets forth general requirements

for notice-and-comment rulemaking, which the Social Security Act requires HHS to follow in

substantive rulemaking under Medicare. See 5 U.S.C. § 553(b), (c); 42 U.S.C. § 1395hh. The IRA,

however, provides that HHS “shall implement [the Drug Pricing Program] for 2026, 2027, and

2028, by program instruction or other forms of program guidance.” Id. § 1320f note. CMS has read

that language to exempt the Drug Pricing Program from notice-and-comment requirements during

the Program’s formative years. See CMS, Medicare Drug Price Negotiation Program: Initial

Memorandum for Initial Price Applicability Year 2026 [hereinafter Initial Guidance] at 2 (Mar.

15, 2023), https://bit.ly/3m0cDPG; Revised Guidance at 8–11.

       On the back end, after implementation decisions are made, the IRA purports to insulate

critical decisions from review. For example, the statute provides that “[t]here shall be no


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administrative or judicial review” of many key HHS determinations, including “[t]he selection of

drugs,” “the determination of negotiation-eligible drugs,” “the determination of qualifying single

source drugs,” and “[t]he determination of a maximum fair price.” 42 U.S.C. § 1320f–7(2)–(3).

       D.      CMS Implements the IRA Through Guidance

       In March 2023, CMS issued initial guidance on the Drug Pricing Program for 2026. The

Initial Guidance confirmed CMS’s view that the Program “is not subject to the notice-and-

comment requirement of the Administrative Procedure Act or the Medicare statute.” Initial

Guidance at 2. And while CMS “voluntarily” solicited comments on some aspects of the Initial

Guidance, it adopted other aspects as final. The aspects finalized without notice-and-comment

encompass some of the Program’s most critical elements, including “the requirements governing

the identification of qualifying single source drugs, the identification of negotiation-eligible drugs,

the ranking of negotiation-eligible drugs and identification of selected drugs, and the publication

of the list of selected drugs.” Id. at 4. CMS also claimed the unconditional right to “make changes

to any policies, including policies on which CMS has not expressly solicited comment.” Id. at 2.

       In June 2023, CMS issued revised Program guidance for 2026. Among other changes, CMS

altered some aspects of the Initial Guidance that it had previously issued as “final,” without any

solicitation of comments. See Revised Guidance at 97. As noted, the Revised Guidance also

discusses a mechanism to expedite manufacturers’ exit from Medicare Part D, purportedly

reducing the 11-to-23 month statutory delay to 30 days. See id. at 120–21.

                                           ARGUMENT

       Summary judgment is appropriate where “there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). Here,

Plaintiffs are entitled to judgment as a matter of law on all three of their claims. The Drug Pricing

Program violates the separation of powers and the nondelegation doctrine; it violates the Eighth


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Amendment’s Excessive Fines Clause; and it violates the Fifth Amendment’s Due Process Clause.

I.     THE IRA VIOLATES THE SEPARATION OF POWERS AND THE
       NONDELEGATION DOCTRINE

       Article I, section 1 of the Constitution provides that “[a]ll legislative Powers herein granted

shall be vested in a Congress of the United States.” Congress accordingly may not “delegate to [other

branches] powers which are strictly and exclusively legislative.” Wayman v. Southard, 23 U.S. (10

Wheat.) 1, 42 (1825). Indeed, “[t]hat congress cannot delegate legislative power to the [executive

branch] is a principle universally recognized as vital to the integrity and maintenance of the system

of government ordained by the constitution.” Marshall Field & Co. v. Clark, 143 U.S. 649, 692

(1892). The Supreme Court has twice struck down statutes as violating these principles. See A.L.A.

Schechter Poultry Corp. v. United States, 295 U.S. 495 (1935); Panama Ref. Co. v. Ryan, 293 U.S.

388 (1935). The Fifth Circuit did so again just last year. See Jarkesy v. SEC, 34 F.4th 446, 459–63

(5th Cir. 2022), cert. granted, No. 22-859, 2023 WL 4278448 (June 30, 2023). As the Supreme Court

recently unanimously confirmed, Congress may not “transfer[] its legislative power to another

branch.” Gundy v. United States, 139 S. Ct. 2116, 2121 (2019) (plurality op.); see id. at 2130 (Alito,

J., concurring in the judgment) (similar); id. at 2133–35 (Gorsuch, J., dissenting) (similar).

       The nondelegation doctrine reflects larger separation-of-powers principles. The Framers

“divided the powers of the new Federal Government into three defined categories, Legislative,

Executive, and Judicial.” Seila L. LLC v. CFPB, 140 S. Ct. 2183, 2202 (2020) (quotation marks

omitted). Beyond that, “the Framers bifurcated the federal legislative power into two Chambers: the

House of Representatives and the Senate, each composed of multiple Members and Senators.” Id. at

2203. “The resulting constitutional strategy is straightforward: divide power everywhere except for

the Presidency, and render the President directly accountable to the people through regular

elections.” Id. Congress “contravenes this carefully calibrated system” if it “vest[s] significant



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governmental power in the hands of a single individual accountable to no one.” Id. “[A]ccountability

evaporates if a person or entity other than Congress exercises legislative power.” Jarkesy, 34 F.4th

at 460.

          The IRA violates the separation of powers by delegating to HHS unconstrained discretion to

set Medicare drug prices as low as it chooses. While the statute directs HHS to “consider” certain

“factors,” it provides no guidance on how the agency must weigh those factors and sets no concrete

limits on the agency’s ultimate discretion—other than a minimum discounted “ceiling” price the

agency must achieve and a directive to “achieve the lowest maximum fair price.” 42 U.S.C. § 1320f–

3(b)(1), (c), (e) (emphasis added). Unlike historical federal price-setting statutes, the IRA is not

limited to wartime exigencies or the unique problems of common carriers; and because it imposes

no floor or other meaningful constraint on prices, the IRA does not require prices to be “just and

reasonable,” as previous price-control statutes have done. See, e.g., Pub. L. No. 421, §§ 2, 302, 56

Stat. 23 (1942); 15 U.S.C. § 717c; 16 U.S.C. § 824d. Instead, the IRA gives HHS unconstrained

authority to replace market prices for Medicare’s most beneficial drugs with lower prices of the

agency’s unfettered choosing. But Congress cannot commit to an agency’s untrammeled discretion

command-and-control authority over vast swaths of the economy. See Jarkesy, 34 F.4th at 462.

          Furthermore, key terms in the IRA are sufficiently open-ended to allow HHS to claim

authority to make fundamental policy choices—essentially allowing the agency to rewrite the statute

as it sees fit. In addition to its already expansive price-setting authority for negotiation-eligible drugs,

CMS also has claimed authority to determine when multiple products qualify as one qualifying single

source drug for purposes of determining whether the products qualify for price controls in the first

place. See Revised Guidance at 11–12. CMS likewise reads the statute not to specify what it means

for a generic drug or biosimilar product to be “marketed,” such that the reference drug or biological




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product would not be negotiation-eligible. See id. at 72–78. And CMS has asserted wide discretion

to determine what is included in the “total expenditures” that determine HHS’s rankings. See id. at

97 & n.29; 88 Fed. Reg. 22,120, 22,260 (Apr. 12, 2023). While these issues encompass only parts

of the IRA’s expansive Drug Pricing Program, they are not the sort of minor matters where an

administrative agency may be empowered to “fill up the details.” Wayman, 23 U.S. (10 Wheat.) at

43. They are “important subjects, which must be entirely regulated by the legislature itself.” Id.

       Where Congress “mandate[s] compliance with … requirements for notice and comment,”

that may “weigh[] in favor of [upholding] a delegation.” United States v. Garfinkel, 29 F.3d 451,

459 (8th Cir. 1994) (citation omitted). But the IRA conspicuously lacks that procedural safeguard.

In the Program’s formative years, the statute does not require notice-and-comment rulemaking—or

even the solicitation of any external input. And the draconian excise tax prevents manufacturers from

protecting themselves against arbitrary agency decision-making during the “negotiation” process.

       Finally, “judicial review is a factor weighing in favor of upholding a statute against a

nondelegation challenge.” Id. Congress thus traditionally avoids nondelegation problems by

“provid[ing] an administrative agency with standards guiding its actions such that a court could

ascertain whether the will of Congress has been obeyed.” Skinner v. Mid-Am. Pipeline Co., 490 U.S.

212, 218 (1989) (quotation marks omitted). But here, the IRA purports to insulate critical agency

decisions from judicial review. See 42 U.S.C. § 1320f–7.

       The elimination of judicial review in the Drug Pricing Program presents a serious

nondelegation problem. In Touby v. United States, 500 U.S. 160 (1991), for example, the Supreme

Court upheld a delegation scheme limiting judicial review, but only because the statute merely

“postpone[d] legal challenges … until the administrative process ha[d] run its course.” Id. at 168.

Here, the IRA purportedly eliminates judicial review over critical administrative decisions. Giving




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HHS unreviewable authority to resolve basic statutory-interpretation questions is tantamount to

permitting the agency to rewrite the statute—a legislative function. “[J]udicial review perfects a

delegated-lawmaking scheme by assuring that the exercise of such power remains within statutory

bounds.” Id. at 170 (Marshall, J., concurring).

        Without judicial constraint, HHS could attempt—with impunity—to simply ignore binding

statutory constraints on its price-setting authority. For example, HHS could select a product for

negotiation even though it is not negotiation-eligible under the statute. If the manufacturer

challenged that unlawful decision in court, HHS could respond by citing the IRA’s judicial review

bar, which provides that “[t]here shall be no … judicial review” of “[t]he selection of drugs” or

“the determination of qualifying single source drugs.” 42 U.S.C. § 1320f–7(2)–(3). This is just one

statutory requirement HHS could ignore while claiming that no judicial review is available to

correct its overreach. HHS has a “capacious portfolio of authority” under the IRA, which makes

“[t]he constitutional problem … more acute.” Cmty. Fin. Servs. Ass’n of Am., Ltd. v. CFPB, 51

F.4th 616, 640 (5th Cir. 2022), cert. granted, 143 S. Ct. 978 (2023).

        Standing alone, each of these defects undermines separation-of-powers principles. Taken

together, they create a “novel structure,” Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561

U.S. 477, 496 (2010), that concentrates “significant governmental power” in an administrative

agency “accountable to no one,” Seila, 140 S. Ct. at 2203, to set prices for nearly half of nationwide

prescription drug sales. That result is fatal to the Drug Pricing Program. “Perhaps the most telling

indication of a severe constitutional problem with an executive entity is a lack of historical precedent

to support it.” Id. at 2201 (cleaned up). Plaintiffs are aware of no other statute that grants such

sweeping power to an administrative agency while also barring both front-end input via notice-

and-comment rulemaking and back-end accountability via judicial review.




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II.    THE IRA VIOLATES THE EXCESSIVE FINES CLAUSE

       The Eighth Amendment provides that “[e]xcessive bail shall not be required, nor excessive

fines imposed, nor cruel and unusual punishments inflicted.” The Excessive Fines Clause “limits

the government’s power to extract payments, whether in cash or in kind, as punishment for some

offense.” United States v. Bajakajian, 524 U.S. 321, 328 (1998) (citation omitted). It applies not

only to criminal fines but also to civil fines designed “in part to punish.” Austin v. United States,

509 U.S. 602, 610 (1993); see Hudson v. United States, 522 U.S. 93, 103 (1997). “[T]he touchstone

of the constitutional inquiry under the Excessive Fines Clause is the principle of proportionality:

the amount of the [fine] must bear some relationship to the gravity of the offense that it is designed

to punish.” Bajakajian, 524 U.S. at 334.

       The IRA’s “excise tax” triggers and violates the Excessive Fines Clause. It is designed to

punish noncompliance with the IRA’s sham negotiation process, and it is wildly disproportionate

to the “offense” of refusing to agree that a government-dictated price is “fair.”

       A.       The IRA’s Excise Tax Is Punitive

       The IRA’s excise tax triggers the Excessive Fines Clause because it is punitive in nature.

In assessing whether a “tax” operates as a penalty, the Supreme Court has adopted a “functional

approach,” under which labels are not dispositive. NFIB v. Sebelius, 567 U.S. 519, 565 (2012). In

the related context of the Double Jeopardy Clause, courts determine whether a tax is punitive by

considering its size and purpose. See Dep’t of Revenue of Mont. v. Kurth Ranch, 511 U.S. 767, 780

(1994); Dye v. Frank, 355 F.3d 1102, 1105 (7th Cir. 2004). And “[i]t matters not whether the

scheme has a remedial purpose, even a predominantly remedial purpose” because “the Excessive

Fines Clause applies to any statutory scheme that serves in part to punish.” Tyler v. Hennepin

Cnty., 143 S. Ct. 1369, 1381 (2023) (Gorsuch, J., concurring) (cleaned up).

       Here, the IRA’s excise tax is unquestionably punitive. A summary of predecessor


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legislation accurately described it as a “steep, escalating penalty.” Title Summary, H.R. 3, at 1

(2022) (emphasis added). Not only does the statutory scheme serve “in part” to punish, that appears

to be its sole purpose: Prior to the IRA’s passage, the Joint Committee on Taxation and the CBO

both told Congress that the tax would raise no revenue at all, since no rational manufacturer would

ever dare trigger it. See supra, at 10. Instead, the tax serves to coerce manufacturers into

participating in the IRA’s sham negotiation process and, failing that, to punish them harshly.

Indeed, the relevant section of the tax code is entitled, “Designated drugs during noncompliance

periods.” 26 U.S.C. § 5000D (emphasis added); see id. § 5000D(b) (subparagraph entitled

“Noncompliance periods”). “Deter[ring]” noncompliance “has traditionally been viewed as a goal

of punishment.” Bajakajian, 524 U.S. at 329. At the very least, the excise tax “cannot fairly be

said solely to serve a remedial purpose.” Tyler, 143 S. Ct. at 1381 (Gorsuch, J. concurring) (cleaned

up). Therefore, “the Excessive Fines Clause applies.” Id.

        The sheer size of the tax penalty further demonstrates its punitive nature. The tax rate starts

at 186% of a drug’s total U.S. revenues, and, after 271 days, reaches 1,900%. 26 U.S.C.

§ 5000D(b)(1)–(4). That enormous levy would cause significant financial harm to manufacturers.

See Garthwaite Decl. ¶¶ 66, 84–87; Bernie Decl. ¶ 10. Indeed, for every $1 billion in annual net

revenues for a drug, a manufacturer would incur $19 billion in penalties after a year. Garthwaite

Decl. ¶ 66. And if the drug “accounts for approximately 13 percent or more of its manufacturer’s

total net revenues, applying the excise tax over a full year . . . would result in an excise tax liability

of 100 percent of the manufacturer’s total net revenues.” Id. ¶ 85. By any conceivable measure,

that is an “exceedingly heavy burden,” NFIB, 567 U.S. at 565, confirming that the tax is punitive

and does not “solely” serve a remedial purpose, Tyler, 143 S. Ct. at 1381 (Gorsuch, J. concurring).

See Bajakajian, 524 U.S. at 337–40 (concluding that a significantly less onerous excise tax was




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grossly disproportionate and punitive).

       While the excise tax directly punishes noncompliant manufacturers, its harms extend more

broadly. Without it, manufacturers could more effectively resist lowball “offers” from HHS that

do not align with a medicine’s value, allowing prices and reimbursement rates to continue to reflect

market forces. In other words, the excise tax is an integral part of the IRA’s scheme for imposing

government-dictated prices. As such, the excise tax not only punishes manufacturers, but also

reduces reimbursements to providers and limits patients’ access to innovative treatments.

       B.      The IRA’s Excise Tax Is Grossly Disproportionate

       The IRA’s excise tax violates the Excessive Fines Clause because it is wildly

disproportionate to the “offense” it seeks to punish. While the Eighth Amendment does not require

strict proportionality between the punishment and the gravity of the offense, it forbids “gross

disproportionality.” Bajakajian, 524 U.S. at 336. The Supreme Court has considered three general

criteria: “the degree of the defendant’s reprehensibility or culpability; the relationship between the

penalty and the harm to the victim caused by the defendant’s actions; and the sanctions imposed

in other cases for comparable misconduct.” Cooper Indus. v. Leatherman Tool Group, Inc., 532

U.S. 424, 435 (2001) (citations omitted). Federal courts have applied these factors to many kinds

of penalties. See, e.g., Yates v. Pinellas Hematology & Oncology, P.A., 21 F.4th 1288, 1314–16

(11th Cir. 2021) (treble damages and statutory penalties); United States ex rel. Drakeford v.

Tuomey, 792 F.3d 364, 387–90 (4th Cir. 2015) (punitive damages and civil penalties). These

factors establish that the excise-tax penalty is grossly disproportionate to the “offense” of failing

to participate in the IRA’s compelled-negotiation process.

       First, the supposed “offense” being punished—a manufacturer’s refusal to express its

agreement to a price imposed by HHS—does not entail any “reprehensibility or culpability.”

Cooper Indus., 532 U.S. at 435. Noncompliant conduct under the IRA involves no “threat of


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violence,” “trickery,” or “deceit,” nor does it involve “indifference to or reckless disregard for the

health and safety of others.” BMW of N. Am. v. Gore, 517 U.S. 559, 576 (1996). Indeed, failing to

agree on a price for the lawful sale of beneficial medicines ordinarily is not even considered

wrongful, much less unlawful. At a minimum, this conduct is less culpable than that at issue in

Bajakajian, where the Supreme Court held that forfeiting $357,444 in currency was grossly

disproportionate to the offense of failing to report that same amount of currency to customs

inspectors. See 524 U.S. at 337–40. The Court held that the defendant had “a minimal level of

culpability” because his “crime was solely a reporting offense,” since “[i]t was permissible to

transport the currency out of the country so long as he reported it.” Id. at 337, 339. Here, a

manufacturer’s refusal to accept an offer it views as unfairly low is not culpable at all.

       Second, there is no reasonable relationship between the size of the penalty and any harm

caused. As in Bajakajian, the “offense” at issue is “unrelated to any other illegal activities,” it

“affect[s] only … the Government,” and it does not involve “fraud on the United States.” Id. at

338–39. Even if the government has an interest in ensuring that drugs are sold for no more than

HHS’s mandated price, the tax vastly exceeds any alleged harm. A noncompliant manufacturer

faces a penalty of multiple times its total daily revenues for all U.S. sales of the drug—a figure

that dwarfs the difference between HHS’s price and the actual sales price, and is significantly more

disproportionate than the penalty struck down in Bajakajian. The penalty also has no aggregate

limit; the tax is assessed for each day of noncompliance. The excise tax thus “has absolutely no

correlation to any damages sustained by society or to the costs of enforcing the law,” and “any

relationship between the Government’s actual costs and the amount of the sanction is merely

coincidental.” Austin, 509 U.S. at 621–22 & n.14 (brackets omitted).

       Third, PhRMA is not aware of any other statute that imposes similarly severe sanctions on




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comparable “misconduct.” There are no other statutes that impose any penalties at all—much less

crippling penalties on this scale—for the mere failure to agree to a price mandated by the

government. That alone shows that the IRA’s excise-tax penalty is grossly disproportionate and

unconstitutional. Considered in combination with the other novel and severely punitive features of

the excise “tax,” this unprecedented use of “the power to destroy,” McCulloch v. Maryland, 17

U.S. (4 Wheat.) 316, 431 (1819), is plainly unconstitutional.

III.   THE IRA VIOLATES THE DUE PROCESS CLAUSE

       The Fifth Amendment provides that no person shall “be deprived of life, liberty, or property

without due process of law.” The government violates that prohibition where it (1) deprives a

plaintiff of a protected liberty or property interest (2) without adequate procedures. See Swarthout

v. Cooke, 562 U.S. 216, 219 (2011). Here, the IRA deprives manufacturers, providers, and patients

of protected interests, while affording them no opportunity to be heard and barring judicial review.

       A.      The IRA Burdens Protected Interests

       The “ ‘property’ interests subject to procedural due process protection are not limited by a

few rigid, technical forms,” Perry v. Sindermann, 408 U.S. 593, 601 (1972), and “extend well

beyond actual ownership of real estate, chattels, or money,” Bd. of Regents of State Colls. v. Roth,

408 U.S. 564, 571–72 (1972). The government can create such interests through statutes, express

or implied contracts, “policies and practices,” or “rules and understandings” that are “promulgated

and fostered by [government] officials.” Perry, 408 U.S. at 601–03. While the government “may

elect not to confer a property interest” in the first place, “it may not constitutionally authorize the

deprivation of such an interest, once conferred, without appropriate procedural safeguards.”

Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 541 (1985) (citation omitted).

       The IRA impairs manufacturers’ patent rights, as well as their right to offer access to their

products at prices set by voluntary agreements.


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       First, Federal law provides that “patents shall have the attributes of personal property,”

35 U.S.C. § 261, and more than a century ago, the Supreme Court “indisputably established” that

“rights secured under the grant of letters patent … [are] property,” William Cramp & Sons Ship &

Engine Bldg. Co. v. Int’l Curtis Marine Turbine Co., 246 U.S. 28, 39–40 (1918). The Court has

reaffirmed this principle numerous times since. See, e.g., Horne v. Dep’t of Agric., 576 U.S. 351,

359 (2015) (patent “confers upon the patentee an exclusive property in the patented invention”

(quotation marks omitted)); Hartford-Empire Co. v. United States, 323 U.S. 386, 415 (1945)

(“That a patent is property … has long been settled.”).

       In granting property rights, “[t]he federal patent system … embodies a carefully crafted

bargain”—namely, that in return for “the creation and disclosure of new, useful and nonobvious

advances in technology,” inventors obtain “the exclusive right to practice the invention for a period

of years.” Bonito Boats, Inc. v. Thunder Craft Boats, Inc., 489 U.S. 141, 150–51 (1989). The time-

limited “right to exclude” gives the patentee “pecuniary rewards,” thereby “encouraging

innovation. Indeed, the encouragement of investment-based risk is the fundamental purpose of the

patent grant.” Biotechnology Indus. Org. (BIO) v. District of Columbia, 496 F.3d 1362, 1372 (Fed.

Cir. 2007) (quotation marks omitted).

       “By penalizing high prices—and thus limiting the full exercise of the exclusionary power

that derives from a patent—the [IRA] re-balance[s] the statutory framework of rewards and

incentives … as it relates to inventive new drugs.” Id. at 1374. Because of the long lead times for

developing cutting-edge medicines, manufacturers must make investment decisions based on the

prospect of future sales. See Garthwaite Decl. ¶¶ 14, 18, 77(d); Costello Decl. ¶ 18; Gluck Decl.

¶¶ 14–15. For products that were patented or in development at the time of the IRA’s passage,

manufacturers invested in reliance on the principle that, “[u]pon grant of the patent, the only




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limitation on the size of the carrot should be the dictates of the marketplace.” King Instruments

Corp. v. Perego, 65 F.3d 941, 950 (Fed. Cir. 1995); see BIO, 496 F.3d at 1272 (“Importantly, the

patent system provides incentive to the innovative drug companies to continue costly development

efforts.”) (citation omitted). In upending that principle, the selection of a manufacturer’s drug for

government price controls under the IRA deprives that manufacturer of its property rights.

       Second, the IRA also disrupts the “treasured” common-law right to offer access to one’s

products at prices set by voluntary agreements, not government dictates. Cedar Point Nursery v.

Hassid, 141 S. Ct. 2063, 2072 (2021). That right is more than “a mere subjective ‘expectancy.’”

Perry, 408 U.S. at 602. For decades, Congress and the Executive Branch allowed and encouraged

manufacturers to sell their products at market prices. When Congress created Medicare Part D in

2006, Congress even prohibited HHS from “interfer[ing] with the negotiations between drug

manufacturers and pharmacies and [prescription drug plan] sponsors.” 42 U.S.C. § 1395w–111(i).

Manufacturers thus have a “legitimate claim of entitlement” based on years of “rules and

understandings, promulgated and fostered by” the federal government. Perry, 408 U.S. at 602–03.

       The IRA’s Drug Pricing Program deprives providers and patients of protected interests as

well. Providers have a protected interest in being reimbursed on a non-arbitrary basis at a lawful

rate. See Rock River Health Care, LLC v. Eagleson, 14 F.4th 768, 774 (7th Cir. 2021); Furlong v.

Shalala, 156 F.3d 384, 393 (2d Cir. 1998). Indeed, for some providers, the IRA threatens their

“very existence and financial stability.” Accident, Injury & Rehab., PC v. Azar, 336 F. Supp. 3d

599, 605 (D.S.C. 2018); Nyquist Decl. ¶ 10. And patients have a protected interest in making

choices about their medical care, including being able to continue accessing life-sustaining

medicines. See England v. La. State Bd. of Med. Exam’rs, 259 F.2d 626, 627 (5th Cir. 1958) (per

curiam); Andrews v. Ballard, 498 F. Supp. 1038, 1048–51 (S.D. Tex. 1980); Nyquist Decl. ¶ 6;




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Spiegel Decl. ¶ 20.

       B.      The IRA’s Procedures Are Constitutionally Insufficient

       To determine whether the government has afforded constitutionally adequate procedures

under the Due Process Clause, courts balance (1) “the private interest that will be affected by the

official action,” (2) “the risk of an erroneous deprivation of such interest through the procedures

used, and the probable value, if any, of additional or substitute procedural safeguards,” and (3) “the

Government’s interest, including the function involved and the fiscal and administrative burdens

that the additional or substitute procedural requirement[s] would entail.” Mathews v. Eldridge, 424

U.S. 319, 335 (1976). But where the program “provides no process whatsoever,” the government

has “a glaring problem,” which “alone” compels the conclusion that it is unconstitutional. Schepers

v. Comm’r, 691 F.3d 909, 915 (7th Cir. 2012). That is the case here, where the IRA purportedly

exempts the Drug Pricing Program from notice-and-comment rulemaking, facially bars

administrative and judicial review, and contains no other mechanism for manufacturers, providers,

or patients to comment on, or contribute to the agency’s decision-making process. Because no

process cannot constitute due process, there is no need for this Court to address the full Mathews

balancing test. But if this Court were to apply the Mathews test in full, the IRA flunks it.

       First, the private interests at stake are indisputably weighty. Having a drug selected for

“negotiation” under the IRA will have significant economic ramifications for the manufacturer.

See Garthwaite Decl. ¶¶ 72, 102–03; Bernie Decl. ¶¶ 10, 16–17; Costello Decl. ¶¶ 18–20; Gluck

Decl. ¶ 15. Indeed, in some instances, the economic viability of a product may turn entirely on

HHS’s decision whether the product is selected for “negotiation”—or is grouped with other

products as one qualifying single source drug. See Garthwaite Decl. ¶¶ 72, 102–03; see also Gluck

Decl. ¶ 15.

        The private interests for providers and patients are similarly massive. Providers, including


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NICA members, have invested enormous resources building facilities and processes for

administering Medicare-reimbursed drugs effectively and efficiently. Nyquist Decl. ¶ 9. For many

providers, the effect of IRA price controls on reimbursement rates may make the difference

between profit and loss, or even between continuing operations and going out of business. Id. ¶ 10.

For patients such as those served by NICA members and those represented by GCCA, the decision

may be one of life and death. Id. ¶ 4. HHS’s decisions may determine whether existing products

remain available to Medicare and Medicaid beneficiaries and whether future products are brought

to market for any patients. Id. ¶ 10; see also Spiegel Decl. ¶¶ 14–18.

       Second, the risk of erroneous deprivation is high. According to CMS, the IRA leaves many

key questions unanswered, allowing the agency to fill in the gaps. Yet CMS also maintains that

the Drug Pricing Program is exempt from notice-and-comment rulemaking through 2028, and the

statute purportedly bars judicial review of key implementation decisions. See 42 U.S.C.

§ 1320f note; id. § 1320f–7. In combination, these features mean that neither regulated entities nor

the public have any right to provide views on key determinations before they are made, to have

those views taken into account, or to seek judicial review after those decisions become final.

Without any mechanism for external input or accountability—before or after implementation

decisions are made—the risk of misapplying a novel, complex statutory scheme is immense.

       Third, the government has no legitimate interest in insulating HHS’s decision-making from

input by affected parties, or in denying judicial review even for basic statutory-interpretation

questions. “The fundamental requirement of due process is the opportunity to be heard at a

meaningful time and in a meaningful manner.” FDIC v. Bank of Coushatta, 930 F.2d 1122, 1130

(5th Cir. 1991) (quotation marks omitted). Yet the IRA affords manufacturers, providers, and

patients no opportunity to be heard on many of HHS’s most consequential implementation




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decisions. And this lack of process cannot be justified by any valid governmental interest. The

government has identified no emergency requiring suspension of ordinary administrative

processes affording input by affected parties and judicial review. Giving interested parties the

opportunity to comment on decisions about the law’s implementation, and to seek review of

statutorily impermissible or irrational choices, would impose only minimal “fiscal and

administrative burdens.” Mathews, 424 U.S. at 335. And such external input would go a long way

to reducing “the risk of an erroneous deprivation” of public and private interests. Id.

       C.      Participation in the Drug Pricing Program Is Not Voluntary

       The IRA’s trampling of the Due Process Clause cannot be excused on the ground that

manufacturers’ “participation in the Medicare program is voluntary.” Texas Clinical Labs, Inc. v.

Shalala, 1999 WL 1243200, at *4 (N.D. Tex. Dec. 21, 1999). Manufacturers spent billions of

dollars developing innovative medicines long before the IRA was enacted, so it cannot be fairly

said that manufacturers were “on notice” or “assumed[] the risk” that that pricing would later be

decided by government fiat. Id. at *5. And there is nothing “voluntary” about being forced to

choose between acceding to the government’s demands on pain of massive penalties or

withdrawing from nearly half of the national market for prescription drugs.

       The Supreme Court rejected a similar voluntariness argument in NFIB. There, the

Affordable Care Act attempted to coerce states into expanding their Medicaid programs by

“threatening to withhold all of [their] Medicaid grants.” 567 U.S. at 575. The Court found that

scheme unconstitutional, rejecting the federal government’s argument that states “voluntarily and

knowingly accept[ed] the terms” of the Medicaid program. Id. at 577 (citation omitted). The seven-

justice majority explained that, “[i]nstead of simply refusing to grant new funds to States that will

not accept the new conditions, Congress … also threatened to withhold those States’ existing

Medicaid funds.” Id. at 579–80. The sheer size of the Medicaid program, moreover, made that


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threat coercive—“a gun to the head.” Id. at 581. And Congress “surprise[ed] participating States

with post-acceptance or ‘retroactive’ conditions,” which states “could hardly anticipate” when they

“developed intricate statutory and administrative regimes over the course of many decades …

under existing Medicaid.” Id. at 581, 584.

       Just as the Affordable Care Act threatened to withhold all Medicaid funds to coerce states

into accepting new conditions, the IRA threatens to withhold coverage for all of a manufacturer’s

drugs to coerce price concessions on one selected drug in an entirely new program. The conditions

the IRA places on participation in Medicare and Medicaid thus “take the form of threats to

terminate other significant independent grants.” Id. at 580. Similarly, if withdrawing Medicaid

funding was a “gun to the head” of participating states, then withdrawing coverage for all of a

manufacturer’s products under Medicare and Medicaid is, if anything, even more coercive. See

supra, at 27; cf. Doe v. Univ. of Scis., 961 F.3d 203, 213 (3d Cir. 2020) (recognizing that “total

withdrawal of federal funding” can be “economic dragooning” and “a gun to the head”). And

manufacturers “could hardly anticipate” that Congress would pass a draconian new price-control

regime when they agreed to participate in Medicare and Medicaid and invested enormous sums to

develop innovative medicines years ago. See Gluck Decl. ¶¶ 10, 14.

       Moreover, as explained, exiting from Medicare and Medicaid does not merely create

financial problems for manufacturers; it could devastate providers’ and patients’ access to the

most-frequently prescribed medicines as well. If a manufacturer withdrew from these public

insurance programs, their products would lose coverage, and beneficiaries who rely on those

products—which frequently will have earned their place as “high-spend” Medicare drugs precisely

because there are no satisfactory alternatives—could no longer use federal funding to access their

medications. That would be devastating for millions of patients. Leaving patients with no recourse




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is directly contrary to manufacturers’ core mission, and it could tarnish a manufacturer’s reputation

in the eyes of patients and providers. See Garthwaite Decl. ¶ 88; Bernie Decl. ¶ 16; Costello Decl.

¶ 10; Gluck Decl. ¶ 13. That reputational harm alone could cause further, irreparable long-term

financial harm. Manufacturers cannot lightly offer a cutting-edge treatment to millions of patients

one day and then take it away the next. Their business relies heavily on the trust of the providers

who prescribe their medicines and the patients who take them. See id.

       In any event, manufacturers could not exit Medicare and Medicaid immediately even if

they wanted to. As explained, the Medicare Part D statute delays a manufacturer’s ability to

terminate its relevant agreements with HHS for 11 to 23 months. See 42 U.S.C. §§ 1395w-

114a(b)(4)(B)(ii), 1395w-114c(b)(4)(B)(ii), 1395w–153(a)(1). While CMS has represented that it

will take administrative action to reduce the delay down to 30 days, see Revised Guidance at 120–

21, manufacturers have no assurance that the agency will follow through. To begin with, CMS

made these representations in the Revised Guidance, which is nonbinding. While the Revised

Guidance purports to be “final” on this point, CMS previously issued parts of the Initial Guidance

as “final,” only to turn around and change them in the Revised Guidance.

       Furthermore, CMS’s statutory basis for reducing the exit delay is dubious at best and could

be subject to serious challenge by providers or patients. The Part D statute contains separate

provisions for termination of a manufacturer’s Part D agreements—one for termination “[b]y a

manufacturer” within 11 to 23 months, and another for termination “[b]y the Secretary [of HHS]”

upon 30 days’ notice. 42 U.S.C. § 1395w-114a(b)(4)(B)(i), (ii); id. § 1395w-114c(b)(4)(B)(i), (ii).

The latter provision authorizes termination only “for a knowing and willful violation of the

requirements of the agreement or other good cause shown.” Id. § 1395w-114a(b)(4)(B)(i); id.

§ 1395w-114c(b)(4)(B)(i). In other words, HHS may terminate a manufacturer’s agreements only




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for serious misconduct. In the Revised Guidance, however, CMS asserts that it will find “good

cause” at a manufacturer’s request, even if it has committed no misconduct. See Revised Guidance

at 120–21. CMS thus is seeking to rewrite the statute, transforming the provision governing HHS’s

termination for misconduct into an end-run around statutory limitations governing termination by

a manufacturer. That flouts CMS’s duty to “read the words Congress enacted in their context and

with a view to their place in the overall statutory scheme.” Turkiye Halk Bankasi A.S. v. United

States, 143 S. Ct. 940, 948 (2023) (quotation marks omitted). Manufacturers accordingly must

assume that termination will take up to 23 months, during which time continued participation in

Medicare Part D and the IRA’s Drug Pricing Program is not voluntary in any sense.

       Even if CMS were authorized to reduce the delay for manufacturers to exit Medicare Part D,

it remains infeasible for manufacturers to withdraw from Medicare and Medicaid. It is no secret that

Medicare and Medicaid make up almost half of the national prescription drug market, which

manufacturers cannot simply abandon. CMS’s purported reduction is a transparent attempt to bolster

the fiction that participation in the IRA’s Drug Pricing Program is “voluntary” while ensuring that,

in practice, manufacturers still cannot opt out. CMS’s dubious assertion of authority simply confirms

the agency’s willingness to rewrite federal law to suit its own purposes. Finally, though patients are

“voluntarily” participating in the market for lifesaving drugs, the IRA denies them procedural due

process to participate in decisions that could deprive them of those drugs. See Spiegel Decl. ¶¶ 9,

20–22. That is all the more reason the IRA’s Drug Pricing Program is unconstitutional.

                                          CONCLUSION

       For the foregoing reasons, this Court should grant summary judgment to Plaintiffs, declare

the IRA’s Drug Pricing Program unconstitutional, and enjoin Defendants from implementing it.


Dated: August 10, 2023                             Respectfully submitted,



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/s/ Michael Kolber                           /s/ Tim Cleveland
Michael Kolber* (New York Bar No.            Tim Cleveland (Texas Bar No. 24055318)
    4806527)                                 Austin Krist (Texas Bar No. 24106170)
MANATT, PHELPS & PHILLIPS LLP                Ibituroko-Emi Lawson (Texas Bar No.
7 Times Square                                   24113443)
New York, NY 10036                           McKenzie Edwards (Texas Bar No.
(212) 790-4568                                   24116316)
mkolber@manatt.com                           CLEVELAND KRIST LLC
                                             303 Camp Craft Road, Suite 325
Megan Thibert-Ind* (Illinois Bar No.         Austin, TX 78746
   6290904)                                  (512) 689-8698
MANATT, PHELPS & PHILLIPS LLP                tcleveland@clevelandkrist.com
151 N. Franklin St. Suite 2600
Chicago, IL 60606                            Counsel for Plaintiff National Infusion Center
(312) 477-4799                               Association
mthibert-ind@manatt.com
                                             /s/ Allissa Pollard
*Admitted Pro Hac Vice                       Allissa Pollard (Texas Bar No. 24065915)
                                             ARNOLD & PORTER KAYE SCHOLER
Counsel for Plaintiff Global Colon Cancer      LLP
Association                                  700 Louisiana Street, Suite 4000
                                             Houston, TX 77002
                                             (713) 576-2451
                                             allissa.pollard@arnoldporter.com

                                             Jeffrey Handwerker* (D.C. Bar No. 451913)
                                             John Elwood* (D.C. Bar No. 452726)
                                             Allon Kedem* (D.C. Bar No. 1009039)
                                             William Perdue* (DC Bar No. 995365)
                                             ARNOLD & PORTER KAYE SCHOLER
                                               LLP
                                             601 Massachusetts Avenue, NW
                                             Washington, DC 20001
                                             (202) 942-5000
                                             jeffrey.handwerker@arnoldporter.com

                                             *Admitted Pro Hac Vice

                                             Counsel for Plaintiff Pharmaceutical Research
                                             and Manufacturers of America




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